
In re Sheridan, Ted; — Defendant; Applying For Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial *560District Court Div. J, No. 96-369; to the Court of Appeal, Fifth Circuit, No. 11-KH-559.
Granted. The decisions of the district court and court of appeal are reversed, and the case is remanded for purposes of conducting a hearing to determine relator’s habitual offender status, and for resen-tencing if appropriate. Provided that relator submits documentary proof that the 22nd Judicial District Court vacated his 1990 burglary conviction, one of two prior convictions alleged in the state’s habitual offender bill of information charging him as a third offender, relator’s life sentence exceeds what the law would prescribe for a second offender sentenced under R.S. 15:529.1 and R.S. 14:64, and is thus an illegal sentence which may be corrected at any time. La.C.C.P. art. 882; see State v. Singleton, 09-1269 (La.4/23/10), 33 So.3d 889.
CLARK, J., would deny.
